             Case 1:25-cv-00977       Document 2       Filed 04/02/25      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN ASSOCIATION OF PEOPLE WITH
 DISABILITIES et al.

                Plaintiffs,

        v.                                                 Civil Action No. 1:25-cv-00977

 LELAND DUDEK, in his official capacity as
 Acting Administrator of the Social Security
 Administration, et al.

                Defendants.


              PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs are disabled Americans and organizations representing individuals with

disabilities. They bring this action to stop the unprecedented and illegal dismantling of the Social

Security Administration, which provides benefits to some 73 million people, most of whom have

disabilities. Plaintiffs, by their undersigned counsel and pursuant to Fed. R. Civ. P. 65 and 42

U.S.C. § 12188(a)(2), move the Court for a preliminary injunction against the Defendants, federal

government agencies and officials, prohibiting them from violating Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 794, and the Administrative Procedure Act, 5 U.S.C.

§ 706(2)(A)–(C). Injunctive relief is necessary to revoke the elimination of the Office of Civil

Rights and Equal Opportunity (“OCREO”) and the Office of Transformation within the Social

Security Administration (“SSA”), revoke the reduction of SSA offices, cease the mass termination

of SSA employees, and roll back recent policies that increase applicants’ and beneficiaries’ need

to seek services in person, until Defendants can ensure that doing so will not result in reduced
            Case 1:25-cv-00977        Document 2       Filed 04/02/25      Page 2 of 3




access to SSA programs and services. Preliminary relief is urgent to preserve the status quo by

ensuring that Plaintiffs do not suffer irreparable harm while this case proceeds.

       As set forth more fully in the attached Memorandum of Points and Authorities, a

preliminary injunction is necessary because Plaintiffs are likely to succeed on the merits in

demonstrating that the termination of the OCREO and Office of Transformation, the reduction of

SSA offices, and the elimination of 7,000 employees, along with the implementation of new

policies requiring in-person services in local field offices, disproportionately impact people with

disabilities. They are likely to suffer irreparable injury if they are unable to timely obtain the

protections and services of SSA. The eradication of OCREO and Office of Transformation, the

reduction of offices, imposition of in-person service requirements, and the termination of

numerous employees threaten Plaintiffs’ rights to protection from discrimination, to fair

administrative procedures, and to due process. These injuries far outweigh any damage or

inconvenience to Defendants. Finally, ensuring Plaintiffs are given an accessible avenue by which

they may file their discrimination complaints with SSA and receive timely services from SSA is

well within the public interest because it promotes the fair and equal access to Social Security

benefits.

       WHEREFORE, Plaintiffs request that their Motion be granted and that the Court issue an

immediate preliminary injunction against Defendants.


Dated: April 2, 2025                          Respectfully submitted,


                                                      /s/
                                              Eve L. Hill (DC Bar No. 424896)
                                              BROWN GOLDSTEIN & LEVY, LLP
                                              120 E. Baltimore St., Suite 2500
                                              Baltimore, MD 21202
                                              Tel: (410) 962-1030
Case 1:25-cv-00977   Document 2   Filed 04/02/25    Page 3 of 3




                          Fax: (410) 385-0869
                          ehill@browngold.com

                          Regan Bailey (DC Bar No. 465677)
                          JUSTICE IN AGING
                          1444 Eye Street, N.W., Suite 1100
                          Washington, DC 20005
                          Tel: (202) 289-6976
                          rbailey@justiceinaging.org
